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                            UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS


EUGENE SCALIA,                                    )
SECRETARY OF LABOR,                               )
UNITED STATES DEPARTMENT                          )
OF LABOR,                                         )
                                                  )
Plaintiff,                                        )           CIVIL ACTION FILE
                                                  )           NO. 20-cv-1139
v.                                                )
                                                  )
KANSAS STEAKS, L.L.C.                             )
d/b/a Golden Corral,                              )
                                                  )
Defendant.                                        )

                                    CONSENT JUDGMENT

        Plaintiff having filed his complaint, and Defendant having agreed to the entry of this

judgment without contest;

        It is, therefore, upon motion of counsel for the Plaintiff, and for cause shown:

        ORDERED, ADJUDGED, and DECREED that Defendant, their officers, agents,

servants, employees, and those persons in active concert or participation with them who receive

actual notice of this judgment be, and each of them hereby is, permanently enjoined and

restrained from violating the provisions of §§ l5(a)(2) and l5(a)(5) of the Fair Labor Standards

Act of 1938, as amended (29 U.S.C. § 201 et seq.), hereinafter called the Act, in any of the

following manners:

        1.     Defendant shall not, contrary to sections 6 and 15(a)(2) of the Act, fail to pay to

their employees employed in their enterprise engaged in commerce or in the production of goods

for commerce, wages at rates not less than $7.25 an hour, or any rate subsequently made

applicable by amendment to the Act.
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        2.      Defendant shall not, contrary to sections 7 and 15(a)(2) of the Act, employ any of

their employees in their enterprise engaged in commerce or in the production of goods for

commerce, for workweeks longer than 40 hours without compensating such employee for his or

her employment in excess of 40 hours per workweek at a rate not less than one and one-half

times the regular rate at which he or she is employed.

        3.      Defendant shall not, contrary to sections 11(c) and 15(a)(5) of the Act, fail to

make, keep and preserve adequate and accurate records of their employees, and of the wages,

hours and other conditions and practices of employment maintained by them, as prescribed by

the regulations issued, and from time to time amended, pursuant to section 11(c) of the Act (29

C.F.R. § 516). Defendant shall make such records available at all reasonable times to

representatives of the Plaintiff.

        IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant shall not

request, solicit, suggest, or coerce, directly or indirectly, an employee to return or to offer to

return to the Defendant or to someone else for the Defendant, any money, whether in the form of

cash, check, or any other form, previously due or to become due in the future to said employee

under the provisions of this judgment or the Act; nor shall Defendant accept, or receive from any

employee, either directly or indirectly, any money, whether in the form of cash, check, or any

other form, heretofore or hereafter paid to said employee under the provisions of this judgment

or the Act; nor shall Defendant discharge or in any other manner discriminate, nor solicit or

encourage anyone else to discriminate, against any such employee because such employee has

received or retained money due to him from the Defendant under the provisions of this judgment

or the Act; nor shall Defendant or any one acting on their behalf retaliate against any employee

recovering back wages under this Judgment by paying said employee at an hourly rate that is less




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than the regular hourly rate presently paid to such employee or that is presently set or established

by Defendant for the job titles or duties such employee is performing or will be assigned to

perform. Defendant will not raise an employee’s immigration status as a defense to the payment

of the back wages in any suit alleging such retaliation.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant is hereby

restrained from continuing to withhold unpaid overtime compensation due the employees named

in the Appendix A attached hereto in the amounts set forth opposite their names.

       IT IS FURTHER ORDERED, ADJUDGED, and DECREED that Plaintiff shall recover

from Defendant the sum of $48,877.70 in unpaid minimum wages compensation, overtime

compensation and liquidated damages for the employees listed in Appendix A attached hereto.

The Department of Labor will distribute such sums received to the individuals named in

Appendix A, attached hereto and made a part hereof.

       Defendant remains responsible for the employer’s share of F.I.C.A. arising from or

related to the back wages distributed by Plaintiff.

       Any sums not distributed within a period of three years from the date of this judgment

because of inability to locate the proper persons or because of such person’s refusal to accept the

sum[s] sought to be distributed shall be deposited into the Treasury of the United States. Upon

receipt of full payment from Defendant, Plaintiff’s counsel shall file with the Court a certificate

of payment.

       IT IS FURTHER ORDERED that Each party shall bear his or its own costs, fees and

other expenses incurred by such party in connection with any stage of this proceeding.

       This Court shall retain jurisdiction over this action and the parties hereto as may be

necessary to enforce the provisions of the judgment.




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       Dated this 3rd day of February 2021.




                                                     /s/ Holly L. Teeter
                                                     United States District Judge
                                                     District of Kansas

Entry of this judgment is hereby consented to:

FOR DEFENDANT:



By: s/ Byron Henry_____
Byron Henry, admitted pro hoc vice
Attorney for Defendant
Kansas Steaks, L.L.C.



FOR PLAINTIFF:

Stanley E. Keen
Deputy Solicitor for National Operations

Christine Z. Heri
Regional Solicitor

Evert H. Van Wijk
Associate Regional Solicitor



_s/ Dana M. Hague___
Dana M. Hague
Senior Trial Attorney
KS Bar #21572



s/ Elaine M. Smith___
Elaine M. Smith



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Trial Attorney
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Attorneys for Plaintiff




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                               APPENDIX A

Employee Name              Back Wages       Liquidated Damages   Total
Alvarez, Petronia          $    52.25       $ 5.81               $    58.06
Avitia, Rosalba            $ 6,835.08       $ 759.44             $ 7,594.52
Calderon, Lesli            $ 1,174.16       $ 130.46             $ 1,304.62
Castañeda-Rodriguez, Ana   $ 2,583.53       $ 287.06             $ 2,870.59
Daniels, Andre             $ 6,364.31       $ 707.14             $ 7,071.45
Duffy, Stephen             $ 1,196.07       $ 132.90             $ 1,328.97
Duree, Mary                $ 1,292.71       $ 143.63             $ 1,436.34
Garcia, Leticia            $ 272.91         $ 30.32              $ 303.23
Gatica, Dominga            $ 6,110.24       $ 678.91             $ 6,789.15
Hernandez, Juana           $ 688.26         $ 76.47              $ 764.73
Martinez, Mariana          $    73.85       $ 8.21               $    82.06
McCullough, Sandra         $ 5,977.94       $ 664.22             $ 6,642.16
Muldrew, Narina            $    21.20       $ 2.36               $    23.56
Ortiz, Eduardo             $ 1,143.32       $ 127.04             $ 1,270.36
Rodriguez-Pena, Vanessa    $ 176.38         $ 19.60              $ 195.98
Salazar, Maria             $ 779.06         $ 86.56              $ 865.62
Tabora, Sandi              $ 207.23         $ 23.03              $ 230.26
Torres De Gonzalez, Irma   $ 99.67          $ 11.07              $ 110.74
Trevizo, Cristell          $    59.41       $ 6.60               $    66.01
Vasquez-Lopez, Adan        $ 335.47         $ 37.27              $ 372.74
Yaheyis, Azeb              $ 8,546.90       $ 949.65             $ 9,496.55




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